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                          UNITED STATES DISTRICT COURT
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9   ELIAS VALENCIA HERNANDEZ,                         1:08-cv-00440 OWW DLB HC
10                          Petitioner,                ORDER REGARDING PETITION FOR
                                                       WRIT OF HABEAS CORPUS
11          v.
                                                       [Doc. 1]
12
     UNITED STATES OF AMERICA,
13
                            Respondent.
14                                                 /
15
            Petitioner is a federal prisoner proceeding pro se with a petition for writ of habeas corpus
16
     pursuant to 28 U.S.C. § 2241.
17
            Petitioner filed the instant petition on March 12, 2008. Petitioner indicates that he was
18
     convicted of conspiracy to distribute and possess heroin in the U.S. District Court for the Eastern
19
     District of California, Fresno Division case number 04-CR-5097 AWI. A review of the Petition
20
     reveals that Petitioner’s claims are not cognizable in a petition filed pursuant to § 2241.
21
            A federal prisoner who wishes to challenge the validity or constitutionality of his
22
     conviction or sentence must do so by way of a motion to vacate, set aside, or correct the sentence
23
     under 28 U.S.C. § 2255. Tripati v. Henman, 843 F.2d 1160, 1162 (9th Cir.1988); Thompson v.
24
     Smith, 719 F.2d 938, 940 (8th Cir.1983); In re Dorsainvil, 119 F.3d 245, 249 (3rd 1997);
25
     Broussard v. Lippman, 643 F.2d 1131, 1134 (5th Cir.1981). In such cases, only the sentencing
26
     court has jurisdiction. Tripati, 843 F.2d at 1163. A prisoner may not collaterally attack a federal
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     conviction or sentence by way of a petition for a writ of habeas corpus pursuant to 28 U.S.C. §
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 1   2241. Grady v. United States, 929 F.2d 468, 470 (9th Cir.1991); Tripati, 843 F.2d at 1162; see
 2   also United States v. Flores, 616 F.2d 840, 842 (5th Cir.1980).
 3          In contrast, a federal prisoner challenging the manner, location, or conditions of that
 4   sentence's execution must bring a petition for writ of habeas corpus under 28 U.S.C. § 2241.
 5   Capaldi v. Pontesso, 135 F.3d 1122, 1123 (6th Cir. 1998); United States v. Tubwell, 37 F.3d 175,
 6   177 (5th Cir. 1994); Kingsley v. Bureau of Prisons, 937 F.2d 26, 30 n.5 (2nd Cir. 1991); United
 7   States v. Jalili, 925 F.2d 889, 893-94 (6th Cir. 1991); Barden v. Keohane, 921 F.2d 476, 478-79
 8   (3rd Cir. 1991); United States v. Hutchings, 835 F.2d 185, 186-87 (8th Cir. 1987); Brown v.
 9   United States, 610 F.2d 672, 677 (9th Cir. 1990).
10          In this case, Petitioner contends that he was sentenced in violation of the Sixth
11   Amendment because certain facts where not considered by the jury. Petitioner’s claims are
12   improperly raised in a petition under § 2241 and must be presented to the sentencing court in a
13   petition filed pursuant to § 2255.
14          A federal prisoner authorized to seek relief under § 2255 may seek relief under § 2241 if
15   he can show that the remedy available under § 2255 is "inadequate or ineffective to test the
16   validity of his detention." Hernandez v. Campbell, 204 F.3d 861, 864-5 (9th Cir.2000); United
17   States v. Pirro, 104 F.3d 297, 299 (9th Cir.1997) (quoting § 2255). Although there is little
18   guidance from any court on when § 2255 is an inadequate or ineffective remedy, the Ninth
19   Circuit has recognized that it is a very narrow exception. Id; Holland v. Pontesso, 2000 WL
20   1170161 (9th Cir. 2000) (Section 2255 not inadequate or ineffective because Petitioner misses
21   statute of limitations); Aronson v. May, 85 S.Ct. 3, 5 (1964) (a court’s denial of a prior § 2255
22   motion is insufficient to render § 2255 inadequate.); Lorentsen v. Hood, 223 F.3d 950, 953 (9th
23   Cir. 2000) (same); Tripati, 843 F.2d at 1162-63 (9th Cir.1988) (a petitioner's fears bias or unequal
24   treatment do not render a § 2255 petition inadequate); Williams v. Heritage, 250 F.2d 390 (9th
25   Cir.1957); Hildebrandt v. Swope, 229 F.2d 582 (9th Cir.1956); see, United States v. Valdez-
26   Pacheco, 237 F.3d 1077 (9th Cir. 2001) (procedural requirements of § 2255 may not be
27   circumvented by invoking the All Writs Act, 28 U.S.C. § 1651). The burden is on the petitioner
28   to show that the remedy is inadequate or ineffective. Redfield v. United States, 315 F.2d 76, 83

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 1   (9th Cir. 1963).
 2            Here, Petitioner does not allege that § 2255 is inadequate or ineffective to protect her
 3   rights. Accordingly, Petitioner fails to fall within an exception to this rule which would allow
 4   him to raise such a claim in a petition filed pursuant to § 2241.
 5            Based on the foregoing, the Court cannot proceed with the instant petition under § 2241;
 6   however, Petitioner may re-file a petition pursuant to § 2255, if he desires to do. Accordingly, it
 7   is HEREBY ORDERED that:
 8            1.        The Clerk of Court is directed the send Petitioner a form petition pursuant to §
 9                      2255;
10            2.        Within thirty (30) days from the date of service of this order, Petitioner may
11                      submit the completed § 2255 form petition; and
12            3.        If Petitioner does not wish to submit a § 2255 form petition, the Court will
13                      proceed with a recommendation that the instant § 2241 petition be dismissed as it
14                      is not cognizable.
15         IT IS SO ORDERED.
16            Dated:       April 14, 2008                       /s/ Dennis L. Beck
     3b142a                                               UNITED STATES MAGISTRATE JUDGE
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                            MOTION UNDER 28 USC § 2255 TO VACATE, SET ASIDE, OR CORRECT
                                    SENTENCE BY A PERSON IN FEDERAL CUSTODY

                 (If movant has a sentence to be served in the future under a federal judgment which he or she wishes to
            attack, the movant should file a motion in the federal court which entered the judgment.)

           MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE BY A PERSON IN FEDERAL CUSTODY

                                              Explanation and Instructions–Read Carefully


   (1) This motion must be legibly handwritten or typewritten, and signed by the movant under penalty of perjury. Any false statement
       of a material fact may serve as the basis for prosecution and conviction for perjury. All questions must be answered concisely
       in the proper space on the form.

   (2) Additional pages are not permitted except with respect to the facts which you rely upon to support your grounds for relief. No
       citation of authorities need be furnished. If briefs or arguments are submitted, they should be submitted in the form of a separate
       memorandum.

   (3) Upon receipt, your motion will be filed if it is in proper order. No fee is required with this motion.

   (4) If you do not have the necessary funds for transcripts, counsel, appeal, and other costs connected with a motion of this type,
       you may request permission to proceed in forma pauperis, in which event you must execute form AO 240 or any other form
       required by the court, setting forth information establishing your inability to pay the costs. If you wish to proceed in forma
       pauperis, you must have an authorized officer at the penal institution complete the certificate as to the amount of money and
       securities on deposit to your credit in any account in the institution.

   (5) Only judgments entered by one court may be challenged in a single motion. If you seek to challenge judgments entered by
       different judges or divisions either in the same district or in different districts, you must file separate motions as to each such
       judgment.

   (6) Your attention is directed to the fact that you must include all grounds for relief and all facts supporting such grounds for relief
       in the motion you file seeking relief from any judgment of conviction.

   (7) W hen the motion is fully completed, the original and at least two copies must be mailed to the Clerk of the United States
       District Court whose address is
                                            Clerk, U.S. District Court
                                            2500 Tulare Street, Room 1501
                                            Fresno, California 93721


   (8) Motions which do not conform to these instructions will be returned with a notation as to the deficiency.
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                              MOTION UNDER 28 USC § 2255 TO VACATE, SET ASIDE, OR CORRECT
                                      SENTENCE BY A PERSON IN FEDERAL CUSTODY
                                                         District
         United States District Court
Name of Movant                                                    Prisoner No.                           Case No.

Place of Confinement




            UNITED STATES OF AMERICA                         V.
                                                                                           (name under which convicted)


                                                                  MOTION

   1.    Name and location of court which entered the judgment of conviction under attack




   2.    Date of judgment of conviction

   3.    Length of sentence

   4.    Nature of offense involved (all counts)




   5.    W hat was your plea? (Check one)
         (a) Not guilty                G
         (b) Guilty                        G
         (c) Nolo contendere               G

         If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment, give details:




   6.    If you pleaded not guilty, what kind of trial did you have? (Check one)
         (a) Jury                   G
         (b) Judge only              G

   7.    Did you testify at the trial?
         Yes    G         No G

   8.    Did you appeal from the judgment of conviction?
         Yes    G        No G




                                                                     (2)
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   9.    If you did appeal, answer the following:

         (a) Name of court

         (b) Result

         (c) Date of result

  10.    Other than a direct appeal from the judgment of conviction and sentence, have you previously filed any petitions, applications,
         or motions with respect to this judgment in any federal court?
         Yes    G         No G

  11.    If your answer to 10 was “yes,” give the following information:

         (a) (1) Name of court

              (2) Nature of proceeding




              (3) Grounds raised




              (4) Did you receive an evidentiary hearing on your petition, application or motion?
                  Yes    G       No G

              (5) Result

              (6) Date of result

         (b) As to any second petition, application or motion give the same information:

              (1) Name of court

              (2) Name of proceeding




              (3) Grounds raised




                                                                    (3)
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              (4) Did you receive an evidentiary hearing on your petition, application or motion?
                  Case
            CaseYes  G 1:04-cr-05097-AWI
                          No G
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             (5) Result

             (6) Date of result

         (c) Did you appeal, to an appellate federal court having jurisdiction, the result of action taken on any petition, application or
             motion?
             (1) First petition, etc.             Yes G         No G
             (2) Second petition, etc.              Yes   G       No   G

         (d) If you did not appeal from the adverse action on any petition, application or motion, explain briefly why you did not:




   12.    State concisely every ground on which you claim that you are being held in violation of the constitution, laws or treaties of
          the United States. Summarize briefly the facts supporting each ground. If necessary, you may attach pages stating additional
          grounds and facts supporting same.

          C AU TIO N : If you fail to set forth all grounds in this motion, you may be barred from presenting additional grounds at a later
          date.

              For your information, the following is a list of the most frequently raised grounds for relief in these proceedings. Each
          statement preceded by a letter constitutes a separate ground for possible relief. You may raise any grounds which you have
          other than those listed. However, you should raise in this motion all available grounds (relating to this conviction) on which
          you based your allegations that you are being held in custody unlawfully.
              Do not check any of these listed grounds. If you select one or more of these grounds for relief, you must allege facts.
          The motion will be returned to you if you merely check (a) through (j) or any one of these grounds.
          (a) Conviction obtained by plea of guilty which was unlawfully induced or not made voluntarily or with understanding of
               the nature of the charge and the consequences of the plea.
          (b) Conviction obtained by use of coerced confession.



                                                                       (4)

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          (c) Conviction obtained by use of evidence gained pursuant to an unconstitutional search and seizure.
          (d) Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.
              (e)Case  Caseobtained
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                                        by a violation of the Document
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                  Conviction                                     Document
                                                              privilege     180
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                                                                                self-incrimination.                of 10 5 of 7
              (f) Conviction obtained by the unconstitutional failure of the prosecution to disclose to the defendant evidence
                  favorable to the defendant.
              (g) Conviction obtained by a violation of the protection against double jeopardy.
              (h) Conviction obtained by action of a grand or petit jury which was unconstitutionally selected and impaneled.
              (i) Denial of effective assistance of counsel.
              (j) Denial of right of appeal.

          A. Ground one:




                Supporting FACTS (state briefly without citing cases or law):




         B.   Ground two:




              Supporting FACTS (state briefly without citing cases or law):




         C.   Ground three:




              Supporting FACTS (state briefly without citing cases or law):




                                                                      (5)

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         D.   Ground four:




              Supporting FACTS (state briefly without citing cases or law):




  13.     If any of the grounds listed in 12A, B, C, and D were not previously presented, state briefly what grounds were not so
          presented, and give your reasons for not presenting them:




  14.     Do you have any petition or appeal now pending in any court as to the judgment under attack?
          Yes   G        No G

  15.     Give the name and address, if known, of each attorney who represented you in the following stages of the judgment attacked
          herein:

          (a) At preliminary hearing




          (b) At arraignment and plea




          (c) At trial




          (d) At sentencing




                                                                    (6)
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          (e) On appeal




          (f) In any post-conviction proceeding
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      (g) On appeal from any adverse ruling in a post-conviction proceeding




16.   W ere you sentenced on more than one count of an indictment, or on more than one indictment, in the same court and at
      approximately the same time?
      Yes    G        No G

17.   Do you have any future sentence to serve after you complete the sentence imposed by the judgment under attack?
      Yes   G        No G

      (a) If so, give name and location of court which imposed sentence to be served in the future:




      (b) Give date and length of the above sentence:




      (c) Have you filed, or do you contemplate filing, any petition attacking the judgment which imposed the sentence to be served
          in the future?
          Yes G No G

 W herefore, movant prays that the Court grant him all relief to which he may be entitled in this proceeding.




                                                                                   Signature of Attorney (if any)




 I declare under penalty of perjury that the foregoing is true and correct. Executed on


               Date


                                                                                          Signature of Movant




                                                                 (7)
